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15                            UNITED STATES DISTRICT COURT
16                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                          Case No. 3:19-cv-01537-BEN-JLB
18
19                     Plaintiffs,                  Hon. Roger T. Benitez
                                                    Magistrate Hon. Jill L. Burkhardt
20
          vs.                                       DECLARATION OF ALAN
21
                                                    GOTTLIEB IN SUPPORT OF
22 XAVIER BECERRA, in his official                  PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of                  PRELIMINARY INJUNCTION
23 California, et al.,
24                                                  Complaint filed:August 15, 2019
                       Defendants.                  Amended Complaint filed:
25
                                                    September 27, 2019
26
27                                                  Hearing Date: January 16, 2020
                                                    Time: 10:00 a.m.
28                                                  Courtroom: 5A, 5th Floor

                     DECLARATION OF ALAN GOTTLIEB IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
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 1                         DECLARATION OF ALAN GOTTLIEB
 2 I, Alan Gottlieb, declare as follows:
 3      1.   I have personal knowledge of the facts stated herein, and if called as a witness, I
 4 could competently testify to these facts. This declaration is executed in support of
 5
   plaintiffs’ motion for a preliminary injunction.
 6
      2. I am the founder of the Second Amendment Foundation (SAF). Acting in this
 7
   role within the organization, I am familiar with SAF’s membership.
 8
 9    3. The SAF is a non-profit educational foundation incorporated under the laws of

10 Washington with its principal place of business in Bellevue, Washington. SAF seeks to
11 preserve the effectiveness of the Second Amendment through educational and legal
12 action programs. SAF has over 650,000 members and supporters nationwide, including
13 thousands of members in California. The SAF’s purpose includes education, research,
14
   publishing, and legal action focusing on the constitutional right to own and possess
15
   firearms under the Second Amendment, and the consequences of gun control.
16
       4. The Court’s interpretation of the Second Amendment directly impacts SAF’s
17
   organizational interests, as well as SAF’s members and supporters in California, who
18
19 enjoy exercising their Second Amendment rights. SAF’s membership and donors
20 consist of Second Amendment supporters, people who own guns for self-defense and
21 sport, firearms dealers, shooting ranges, and elected officials who want to restore and
22 protect the right to keep and bear arms in California. The relief that SAF seeks in this
23 lawsuit is germane and directly related to our organization’s purposes, and we are
24
     therefore suing on SAF’s own behalf, and on behalf of our members, including all of
25
     the individual Plaintiffs herein.
26
        5.   Plaintiffs Miller, Hauffen, Rutherford, Sevilla, Peterson, Gunfighter Tactical,
27
28 Phillips, and PWG are members of SAF.
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                      DECLARATION OF ALAN GOTTLIEB IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1      6.   By and through communications and discussions with SAF members, I am
 2 aware that most if not all of our members wish to exercise their fundamental
 3 constitutional rights and have for lawful purposes including self-defense, proficiency
 4
   training, hunting, and sport, common semiautomatic firearms with various common
 5
   characteristics that when used together in various configurations, are defined as “assault
 6
   weapons” and are thus banned under California law. These characteristics include:
 7
   removable ammunition feeding devices (“detachable magazine” 11 C.C.R. § 5471(m),
 8
 9 or, with respect to a semiautomatic shotgun, the “[a]bility to accept a detachable
10 magazine” means it does not have a fixed magazine, 11 C.C.R. § 5471(a)), magazines
11 that can hold more than ten rounds of ammunition (so-called “large-capacity”
12 magazines), ergonomic grips (e.g., pistol-style grips and thumbhole stocks), adjustable
13 stocks (including “collapsible” or “folding” stocks), muzzle devices that reduce flash
14
     (“flash suppressors”), forward grips; and, as to rifles, an overall length of less than 30
15
     inches (California) but at least federally compliant so as to not trigger National Firearms
16
     Act restrictions, 26 U.S.C. § 5801, et seq., or California’s “short-barreled rifle” or
17
18 “short-barreled shotgun” definitions at Cal. Penal Code §§ 17170, 17180, respectively.
19    7. Firearms that meet California’s definitions of “assault weapon” include but are
20 not limited to standard, AR-15 platform firearms that are commonly sold in most other
21 jurisdictions in the country.
22     8. SAF has also, itself, had to divert time and resources, including financial
23
   resources to advance the causes set forth in this lawsuit, and to devote staff time and
24
   attention to the matters that are being challenged in the lawsuit. Failure to obtain the
25
   relief requested in the lawsuit would result in severe frustration of the purpose and
26
27 mission of our organization.
28      9.   Our law-abiding adult members who are, like me, typical citizens without any
                                                    -2-
                      DECLARATION OF ALAN GOTTLIEB IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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 1 special government exemptions to the laws, have been injured in the same manner

 2   described in the lawsuit and motion, including as asserted by the Individual Plaintiffs.
 3 This lawsuit is brought to vindicate our California members' right to lawfully purchase,
 4
   own, transport, use, and transfer these banned arms, and also brought in a representative
 5
   capacity to advance the rights of similarly-situated California residents and visitors who
 6
   knowingly or unknowingly are subject to California's "assault weapon" statutes and
 7
   Defendants' policies, practices, customs, regulations, and enforcement thereof.
 8
 9    10. Accordingly, and for the reasons set forth in the motion and supporting
1o memorandum, we are respectfully requesting that the Court grant preliminary injunctive
11   relief, so that Plaintiffs and Plaintiffs' members, and others similarly situated to them

12 can exercise their fundamental constitutional rights.
13       I declare under penalty of perjury that the foregoing is true and correct. Executed
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     onD;~~ '=,, 2019.
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                                                  Alan Gottlieb
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                      DECLARATION OF ALAN GOTTLIEB IN SUPPORT OF PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
                                                                              (CASENO. 3:19-CV-01537-BEN-JLB)
